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                     EXHIBIT A
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16
                                 UNITED STATES DISTRICT COURT
17
                                NORTHERN DISTRICT OF CALIFORNIA
18
                                          SAN JOSE DIVISION
19
     MAXIMILIAN KLEIN, et al., on behalf of                Case No. 5:20-cv-08570-LHK
20   themselves and all others similarly situated,
                                   Plaintiffs,             DEFENDANT FACEBOOK,
21
                                                           INC.’S FIRST SET OF
            v.
22                                                         INTERROGATORIES TO USER
     FACEBOOK, INC., a Delaware Corporation                PLAINTIFFS
23   headquartered in California,
                                   Defendant.              Judge: Hon. Lucy H. Koh
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        No. 5:20-cv-08570-LHK                        FACEBOOK, INC.’S FIRST SET OF INTERROGATORIES
                                                                                 TO USER PLAINTIFFS
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 1           Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, and N.D. Cal. Civil

 2   Rules 26-1 and 33-1, Defendant Facebook, Inc. hereby requests that the User Plaintiffs (as

 3   defined below) answer the following interrogatories separately and fully in writing, under oath,

 4   and serve its answers upon the undersigned counsel no later than within thirty (30) days after

 5   service. Facebook reserves the right to serve additional Interrogatories at a later date.

 6                                               DEFINITIONS

 7           A.      The definitions and rules of construction set forth in Federal Rules of Civil
 8   Procedure 26 and 33, and N.D. Cal. Civil Rules 26-1 and 33-1, shall apply to these requests and
 9   are incorporated as if fully set forth herein.
10           B.      “You” and “your” include the person or entity to whom these requests are
11   directed, as well as its owners, partners, principals, members, officers, and directors, and all co-
12   account holders, present or former representatives or agents, and any person, including attorneys,
13   acting on behalf of any of the foregoing.
14           C.      “Facebook” means Meta Platforms, Inc., formerly known as Facebook, Inc., and
15   all persons or entities acting or having acted on its behalf, including but not limited to its
16   divisions, subsidiaries, holding companies, predecessors, Facebook, Messenger, Instagram,
17   WhatsApp, and any other related entity.
18           D.      “User Complaint” refers to the Amended Consolidated Consumer Class Action
19   Complaint filed in Klein v. Facebook, Inc., Case No. 5:20-cv-08570-LHK (N.D. Cal.), ECF
20   No. 87, by Maximilian Klein, Sarah Grabert, and Rachel Banks Kupcho (together the “User
21   Plaintiffs”).
22           E.      “Relevant Time Period” is the period from January 1, 2003, to the present.
23           F.      “Document” is defined to be synonymous in meaning and equal in scope to the
24   usage of this term in Federal Rule of Civil Procedure 34(a) and means anything responsive
25   within the meaning of Federal Rule of Civil Procedure 34, including, but not limited to,
26   communications (as defined below).
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                                                                                    USER PLAINTIFFS
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 1                                        INTERROGATORIES

 2   Interrogatory No. 1

 3          Identify all Participant(s) in your alleged “Social Network Market.”

 4   RESPONSE:

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 6   Interrogatory No. 2

 7          Identify all Participant(s) in your alleged “Social Media Market.”

 8   RESPONSE:

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10   Interrogatory No. 3

11          Identify and describe in detail all accounts or profiles, including without limitation, Your

12   user or login name(s), on any online services that You used during the Relevant Time Period.

13   RESPONSE:

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15   Interrogatory No. 4

16          Identify and describe in detail all privacy protections or privacy practices associated with

17   all accounts or profiles Identified in response to Interrogatory No. 3, including but not limited to

18   all privacy settings on all Your accounts or profiles.

19   RESPONSE:

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21   Interrogatory No. 5

22          If You contend that Facebook has monopoly power in any alleged relevant product

23   market during the Relevant Time Period, describe in detail the evidentiary basis for your

24   contention (including all documents or witnesses that support your contention), including,

25   without limitation, Facebook’s market share in each relevant product market at all times in the

26   Relevant Time Period, how the shares were calculated, and any analyses or sources upon which

27   You base your share calculations. To the extent you intend to rely on expert testimony to

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                                                                                   USER PLAINTIFFS
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 1   support your contention, your response should so state; but your response must include all facts

 2   You are presently aware of that support your contention.

 3   RESPONSE:

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                                                                                 USER PLAINTIFFS
